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SEL       LED                                                                  FILED
                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS                      FEB 192020
                                     SAN ANTONIO DIVISION
                                                                          CLPK    u.s.,sIaTRICT    COURT
                                                                             STERN            CT OF TEXAS
 UNITED STATES OF AMERICA,                     §      CRIMINAL NO.:
                                               §
                                                                                        j   /)*JTY CLERK
                    Plaintiff,                 §      INDICTMENT
                                               §
 VS.                                           §      Ct. 1: 18 U.S.C. § 922(o)
                                               §      Illegal Possession of a Machine Gun
 TYRIN MALIK FOLEY,                            §
                                               §      Ct. 2: 26 U.S.C. § 586 1(d)
                    Defendant.                 §      Possession of an Unregistered Firearm
                                               §
                                               §      Ct. 3: 18 U.S.C. § 924(c)
                                               §      Possession of a Firearm in Furtherance of a
                                               §      Drug Trafficking Crime

 THE GRAND JURYCHARGES:
                                              SA2 0 CR0100
                                           COUNT ONE
                                                                                                XR
                                        118 U.S.C. § 922(o)J

          On or about September 5, 2019, in the Western District of Texas, Defendant,

                                     TYRIN MALIK FOLEY,

 knowingly possessed a machinegun, namely, a Glock GMBH 1 7GEN4, 9mm handgun, serial

 number BACP567, equipped with a Glock replacement slide cover plate intended for use as a

 machinegun conversion device that caused said firearm to be a machinegun, in violation of 18

 U.S.C.   §   922(o).

                                          COUNT TWO
                                       [26 U.S.C. § 5861(d)J

          On or about September 5, 2019, in the Western District of Texas, Defendant,

                                    TYRIN MALIK FOLEY,

 knowingly possessed firearms, to wit: a New Frontier Armory LW-i 5 short-barreled rifle, .300

 caliber, serial number NLV86306 and a Glock GMBH 17GEN4, 9mm handgun, serial number

 BACP567, equipped with a Glock replacement slide cover plate intended for use as a machinegun
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    conversion device that caused said firearm to be a machinegun, and a Glock replacement slide

    cover plate intended for use as a machinegun conversion device, which were not then registered

 to him in the National Firearms Registration and Transfer Record, in violation of 26 U.S.C.               §

 5861(d).

                                           COUNT THREE
                                          [18 U.S.C. § 924(c)]


          On or about September 5, 2019, in the Western District of Texas, Defendant,

                                       TYRIN MALIK FOLEY,

did knowingly possess firearms, to wit: a New Frontier Armory LW-iS short-barreled rifle, .300

caliber, serial number NLV86306, and a Glock GMBH 17GEN4, 9mm handgun, serial number

BACP567, equipped with a Glock replacement slide cover plate intended for use as a machinegun

conversion device, during and in relation to, and did possess said firearms in furtherance of, a drug

trafficking crime that may be prosecuted in a court of the United States, that is, Possession with

Intent to Distribute Marijuana, in violation of 18 U.S.C.    §   924(c).

        NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                            [See Fed. R. Crim. P. 32.2]

                                                   I.


                           Firearms Violation and Forfeiture Statutes
     [18 U.S.C. §   922(o)and 924 (c), subject to forfeiture pursuant to 18 U.S.C.      § 924(d)(1),
                    made applicable to criminal forfeiture by 28 U.S.C. § 2461]

          As a result of the criminal violations set forth in Counts One and Three, the United States

of America gives notice to Defendant TYRIN MALIK FOLEY of its intent to seek the forfeiture

of the property described below upon conviction pursuant to FED. R. CRIM. P. 32.2 and        18   U.S.C.

§   924, as made applicable to criminal forfeiture by 28 U.S.C. § 2461. Section 924 states in pertinent

part:

          Title 18 U.S.C. § 924. Penalties
                 (d)(1) Any firearm or ammunition involved in or used in any knowing

                                                   2
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               violation of subsection. . . of section 922,. . . or knowing violation of section
               924.. . shall be subject to seizure and forfeiture. . . under the provisions of
               this chapter.
                                                    II.
          Unlicensed Firearm and Machine Gun Violations and Forfeiture Statutes
  [Title 26 U.S.C. § 5861(d), subject to forfeiture pursuant to Title 26 U.S.C. § 5872, made
                 applicable to criminal forfeiture by Title 28 U.S.C. § 2461]

        As a result of the criminal violation set forth in Count Two, the United States of America

gives notice to Defendant TYRIN MALK FOLEY of its intent to seek the forfeiture of the

property described below upon conviction pursuant to FED. R. CRIM. P. 32.2 and 26 U.S.C.           §   5872,

as made applicable to criminal forfeiture by 28 U.S.C.      §   2461. Section 5872 states in pertinent

part:

        Title 26 U.S.C. § 5872. Forfeitures
               (a) Laws applicable- Any firearm involved in any violation of the
                   provisions of this chapter shall be subject to seizure and forfeiture.. . and
                   the persons to whom this chapter applies.

This Notice of Demand for Forfeiture includes, but is not limited to, the following properties:

        1.   New Frontier Armory LW-15 firearm, .300 caliber, serial number: NLV86306;
        2. Glock GMBH 17 handgun, 9mm caliber, serial number: BACP567; and
        3. Any and all firearms, ammunition, and/or accessories involved in or used in the
             commission of the criminal offenses.




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        JOHN F. BASH
        UNITEESTTOIJ
BY:
         1ATTHEW W. KJNSKEY              -"
        Assistant United States Attorney
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